                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF OHO
                                       EASTERN DIVISION


UNITED STATES OF AMERICA,                       )        Case No. 1:13cr151-3
                                                )
                 Plaintiff,                     )       Judge Solomon Oliver, Jr.
                                                )
          vs.                                   )       REPORT AND RECOMMENDATION
                                                )            OF MAGISTRATE JUDGE
OHIO TRANSPORT CORPORATION,                     )
                                                )
                 Defendant.                     )        Magistrate Judge Greg White
                                                )

          Pursuant to General Order 99-49, this matter was been referred to the undersigned United States
Magistrate Judge for the purpose of receiving, after consent, the Defendant Corporation’s plea of guilty.
The following, along with the transcript or other record of the proceedings submitted herewith,
constitutes this Court’s Report and Recommendation concerning the Defendant Corporation’s plea of
guilty:


                 1.      On September 9, 2013, William C. Hill, Jr., President of Defendant
                         Corporation, accompanied by counsel, proffered a plea of guilty;
                 2.      William C. Hill, Jr., President of Defendant Corporation, was examined
                         as to his competency to participate in a plea proceeding and was found
                         to be competent;
                 3.      William C. Hill, Jr., President of Defendant Corporation, acknowledged
                         understanding the nature of the charge(s) contained in the indictment and
                         the maximum possible sentence consequent thereto;
                 4.      William C. Hill, Jr., President of Defendant Corporation, was advised of
                         Ohio Transport Corporation’s rights to tender a plea of not guilty or stand
                         upon such a plea previously entered, to trial, to representation by counsel,
                         including appointed counsel, at all stages of the proceedings, to confront
                         and cross-examine adverse witnesses, to present witnesses and to compel
                         their presence, and acknowledged understanding that if a plea of guilty
                         was accepted each of those rights would be waived;
                 5.      William C. Hill, Jr., President of Defendant Corporation, was advised
                         that the government would have the right, in a prosecution for perjury, to
                         use any statement he makes under oath;
               6.       William C. Hill, Jr., President of Defendant Corporation, and counsel
                        informed the Court of the plea agreement between the parties, and the
                        Defendant Corporation advised that, aside from such agreement as
                        described and submitted to the Court, no other commitments or promises
                        have been made by anyone, and no other agreements, written or
                        unwritten, have been made;
               7.       William C. Hill, Jr., President of Defendant Corporation, was advised
                        that the terms of the plea agreement retaining only a limited right to
                        appeal or collaterally attack Ohio Transport Corporation’s conviction(s),
                        and sentence(s) will be binding;
               8.       The parties provided the undersigned with sufficient information about
                        the charged offense(s) and the Defendant Corporation’s conduct to
                        establish a factual basis for the plea; and,
               9.       The undersigned questioned William C. Hill, Jr., President of Defendant
                        Corporation, under oath about the knowing, intelligent, and voluntary
                        nature of the plea of guilty, and finds that William C. Hill, Jr.’s plea was
                        offered knowingly, intelligently, and voluntarily on behalf of Ohio
                        Transport Corporation.

       In light of the foregoing and the record submitted herewith, the undersigned finds that all
requirements imposed by the United States Constitution and Fed. R. Crim. P. 11 have been satisfied.
Therefore, the undersigned recommends that the plea of guilty be accepted and a finding of guilty be
entered by the Court.


                                                              s/Greg White
                                                               Greg White
                                                         United States Magistrate Judge
Date: September 9, 2013


       ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk of Court
within fourteen (14) days after being served with a copy of this Report and Recommendation. Failure
to file objections within the specified time may waive the right to appeal the District Court’s order. See,
United States v. Walters, 638 F.2d 947 (6th Cir. 1981). See also Thomas v. Arn, 474 U.S. 140 (1985),
reh’g denied, 474 U.S. 1111 (1986).
